           Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 1 of 7




              In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                          No. 17-323V
                                   Filed: November 23, 2021

* * * * * * * * * * * * *
JAMES J. ROY and MARY ANN
                        *                                          UNPUBLISHED
BOGER, as Administrators and Legal
                        *
Representatives of the Estate of
                        *
PAUL E. ROY,            *
                        *
         Petitioner,    *                                          Decision on Joint Stipulation;
                        *                                          Cellulitis; Influenza (“flu”)
v.                      *                                          Vaccine.
                        *
SECRETARY OF HEALTH     *
AND HUMAN SERVICES,     *
                        *
         Respondent.    *
* * * * * * * * * * * * *

Ramon Rodriguez III, Esq., Sands Anderson PC, Richmond, VA, for petitioner.
Adriana Teitel, Esq., US Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Roth, Special Master:

        On March 9, 2017, James J. Roy and Mary Ann Boger [“Mr. Roy and Ms. Boger” or
“petitioners”] filed a petition on behalf of the estate of their father, Paul E. Roy, for compensation
under the National Vaccine Injury Compensation Program.2 Petitioners allege that he developed

1 Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).

                                                      1
          Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 2 of 7




cellulitis after receiving an influenza (“flu”) vaccine on October 2, 2014, and that his death on
March 9, 2015 was the sequela of his alleged vaccine-related injury. Stipulation, filed November
23, 2021, at ¶¶ 1-4. Respondent denies that the flu vaccine caused his alleged cellulitis, any other
injury, or his death. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On November 23, 2021, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

           A lump sum of $50,000.00 in the form of a check payable to petitioners as
           administrators and legal representatives of the Estate of Paul E. Roy. This amount
           represents compensation for all damages that would be available under § 300aa-15(a).

        I adopt the parties’ stipulation attached hereto, and award compensation in the amount and
on the terms set forth therein. The clerk of the court is directed to enter judgment in accordance
with this decision. 3

       IT IS SO ORDERED.

                                              s/ Mindy Michaels Roth
                                              Mindy Michaels Roth
                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
                                                 2
            Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 3 of 7




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


    JAMES J. ROY and MARY ANN BOGER,
    as administrators and legal representatives of
    Estate ofPaul E. Roy,

                           Petitioners,                     No. 17-323V
                                                            Special Master Roth
          V.                                                ECF

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                           Respondent.


                                             STIPULATION

The parties hereby stipulate to the following matters:

          I. James J. Roy and Mary Ann Boger ("petitioners"), as administrators and legal

representatives ofthe Estate ofPaul E. Roy ("Mr. Roy"), deceased, filed a petition for vaccine

compensation under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10

to 34 (the "Vaccine Program"). The petition seeks compensation for injuries and death allegedly

related to Mr. Roy's receipt ofan influenza ("flu") vaccine, which vaccine is contained in the

Vaccine Injury Table (the "Table"), 42 C.F.R. § 100.3(a).

          2. Mr. Roy received a flu vaccine and Pneumovax vaccine 1 on October 2, 2014.

          3. The vaccines were administered within the United States.

          4. Petitioners allege that as a result ofreceiving the flu vaccine, Mr. Roy suffered

cellulitis. Mr. Roy passed away on March 9, 2015. Petitioners further allege that Mr. Roy's

death was the sequela ofhis alleged vaccine-related injury.


1
    Pneumovax, a pneumococcal polysaccharide vaccine, is not contained in the vaccine injury Table.

                                                   I of5
Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 4 of 7
Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 5 of 7
Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 6 of 7
Case 1:17-vv-00323-UNJ Document 76 Filed 12/09/21 Page 7 of 7
